 Case 17-01027-TLM                      Doc 45 Filed 06/27/19 Entered 06/27/19 22:46:43                        Desc Imaged
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Information to identify the case:
Debtor 1              Sherry Lynn Scheline                                        Social Security number or ITIN   xxx−xx−5083
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Idaho

Case number: 17−01027−TLM



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Sherry Lynn Scheline

                                                                          By the court: Terry L Myers
           6/25/19                                                                      United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                                     District of Idaho
In re:                                                                                                     Case No. 17-01027-TLM
Sherry Lynn Scheline                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0976-1                  User: arutter                      Page 1 of 2                          Date Rcvd: Jun 25, 2019
                                      Form ID: 318                       Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 27, 2019.
db             +Sherry Lynn Scheline,    107 Scheline Lane,    McCall, ID 83638-5206
cr             +McCall Weddings, LLC,    c/o Law Office of D. Blair Clark, PC,      1509 Tyrell, Ste. 180,
                 Boise, ID 83706-6658
4821485         3 Girls Catering,    3210 W Chinden Blvd # 131,     Eagle, ID 83616
4817459        +AAMS/Automated Accounts Management Servi,     4800 Mills Civic Parkway,     Suite 202,
                 West Des Moines, IA 50265-5265
4817460        +Advantage Financial Services,     Attn: Bankruptcy,    10 S Cole Rd,    Boise, ID 83709-0930
4840114        +Barker Rosholt & Simpson LLP,     1010 W. Jefferson St., Ste. 102,     Boise, ID 83702-5453
4821489        +Clifford Scheline,    107 Scheline Ln.,    McCall, ID 83638-5206
4821490         Employment Security Dept,    P.O. Box 24928,    Seattle, WA 98124-0928
4821491        +Idaho Press Tribune,    1618 N Midland Blvd,    Nampa, ID 83651-1751
4821492         JR Williams-Roy Williams,    362 Race Creek,    Riggins, ID 83549
4821493        +Laura Bettis,    P.O. Box 847,    McCall, ID 83638-0847
4821494        +Lindy Photography,    6043 S Harrington Way,,    Boise, ID 83709-6098
4819022        +McCall Weddings, LLC,    C/O Law Office of D. Blair Clark, PC,      1509 Tyrell Lane, Ste. 180,
                 Boise, ID 83706-6658
4817462        +McCall Weddings, LLC.,    Shaver and Swanson, LLP,     P.O. Box 877,    Boise, ID 83701-0877
4821496        +Printshop McCall,    200 Jacob Street,    McCall, ID 83638-5191
4821498         Scott Magnuson,    P.O. Box 2139,    Boise, ID 83701-2139
4821499         Shelley Davis,    P.O. Box 2139,    Boise, ID 83701-2139
4821500        +St Luke’s,    P.O. Box 699,    Boise, ID 83701-0699
4821504        +United Graphic Design,    200 Jacob Street,    McCall, ID 83638-5191
4821506        +Williams Law PLLC,    129 E. Pine,    Meridian, ID 83642-2330

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
4817461        +E-mail/Text: banko@bonncoll.com Jun 26 2019 01:55:04       Bonneville Collections,
                 Po Box 150621,   Ogden, UT 84415-0621
4848825         EDI: ECMC.COM Jun 26 2019 05:53:00      Educational Credit Management Corporation,
                 PO BOX 16408,   ST. PAUL, MN 55116-0408
4821497        +EDI: NAVIENTFKASMSERV.COM Jun 26 2019 05:53:00       Sallie Mae,   P.O. Box 9500,
                 Wilkes Barre, PA 18773-9500
4821501         E-mail/Text: bankruptcies@slhs.org Jun 26 2019 01:54:51       St. Luke’s,   P.O. Box 2578,
                 Boise, ID 83701-2578
4821502        +E-mail/Text: bankruptcies@slhs.org Jun 26 2019 01:54:51       St. Luke’s,   190 E. Bannock,
                 Boise, ID 83712-6241
4821503         E-mail/Text: bankruptcies@slhs.org Jun 26 2019 01:54:51       St. Lukes,   P.O. Box 2578,
                 Boise, ID 83701-2578
4817463        +EDI: VERIZONCOMB.COM Jun 26 2019 05:53:00       Verizon,
                 Verizon Wireless Bankruptcy Administrati,    500 Tecnolgy Dr Ste 500,
                 Weldon Springs, MO 63304-2225
4839281         EDI: AIS.COM Jun 26 2019 05:53:00      Verizon,    by American InfoSource LP as agent,
                 PO Box 248838,   Oklahoma City, OK 73124-8838
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
4821486*         +AAMS/Automated Accounts Management Servi,   4800 Mills Civic Parkway,    Suite 202,
                   West Des Moines, IA 50265-5265
4821487*         +Advantage Financial Services,   Attn: Bankruptcy,    10 S Cole Rd,   Boise, ID 83709-0930
4821488*         +Bonneville Collections,   Po Box 150621,   Ogden, UT 84415-0621
4821495*         +McCall Weddings, LLC.,   Shaver and Swanson, LLP,    P.O. Box 877,   Boise, ID 83701-0877
4821505*         +Verizon,   Verizon Wireless Bankruptcy Administrati,    500 Tecnolgy Dr Ste 500,
                   Weldon Springs, MO 63304-2225
                                                                                               TOTALS: 0, * 5, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 27, 2019                                            Signature: /s/Joseph Speetjens
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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 25, 2019 at the address(es) listed below:
              Jeffrey Philip Kaufman   on behalf of Creditor   McCall Weddings, LLC jeffrey@dbclarklaw.com,
               maryann@dbclarklaw.com;mbblair@dbclarklaw.com;dbc@dbclarklaw.com;reception@dbclarklaw.com
              Jeffrey Philip Kaufman   on behalf of Plaintiff Shannon Berry jeffrey@dbclarklaw.com,
               maryann@dbclarklaw.com;mbblair@dbclarklaw.com;dbc@dbclarklaw.com;reception@dbclarklaw.com
              Jeffrey Philip Kaufman   on behalf of Plaintiff   McCall Weddings, LLC jeffrey@dbclarklaw.com,
               maryann@dbclarklaw.com;mbblair@dbclarklaw.com;dbc@dbclarklaw.com;reception@dbclarklaw.com
              Jeffrey Philip Kaufman   on behalf of Plaintiff Steve Berry jeffrey@dbclarklaw.com,
               maryann@dbclarklaw.com;mbblair@dbclarklaw.com;dbc@dbclarklaw.com;reception@dbclarklaw.com
              Noah G. Hillen   ngh@hillenlaw.com,
               dlr@hillenlaw.com;llm@hillenlaw.com;sellassets@ecf.inforuptcy.com;ID14@ecfcbis.com
              Rudy L Patrick   on behalf of Debtor Sherry Lynn Scheline rudy@rudypatrick.com,
               shannon@rudypatrick.com
              US Trustee   ustp.region18.bs.ecf@usdoj.gov
                                                                                            TOTAL: 7
